                       DECISION AND JUDGMENT ENTRY
This is an appeal from a judgment of conviction and sentence entered by the Lucas County Court of Common Pleas after a jury found defendant-appellant, Maurice Purley, guilty of one count of aggravated robbery with a gun specification and guilty of one count of kidnaping with a gun specification.
In light of our ruling in the case of State v. Purley (May 31, 2002), Lucas App. No. L-01-1005, in which we reversed the conviction and sentence of appellant's codefendant James William Purley on the ground of prosecutorial misconduct, appellant's sole assignment of error is well-taken.
On consideration whereof, the court finds that appellant was prejudiced and prevented from having a fair trial and the judgment of the Lucas County Court of Common Pleas is reversed. This case is hereby remanded for a new trial.  Court costs of this appeal are assessed to appellee.
JUDGMENT REVERSED.
Melvin L. Resnick, J., Richard W. Knepper, J. and Mark L. Pietrykowski, P.J. CONCUR.